       Case 1-17-43007-ess                Doc 50       Filed 03/07/19   Entered 03/07/19 09:47:12




                                                               tmd3574/db
                                                               Return Date & Time:
                                                               MARCH 25, 2019 9:00 AM


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Chapter 13 Case No: 117-43007-ESS
IN RE:
                                                               NOTICE OF MOTION
ANGELA COVE,

                                       Debtor
-----------------------------------------------------------X




                   PLEASE TAKE NOTICE, that upon the within application, the Chapter 13 Trustee
will move this court before the Honorable Elizabeth S. Stong, U.S. Bankruptcy Judge, at the
United States Bankruptcy Court, 271 Cadman Plaza East, Brooklyn, New York, Courtroom 3585
on MARCH 25, 2019 at 9:00 AM, or as soon thereafter as counsel can be heard, for an Order
pursuant to 11 U.S.C. Section 1307(c) for cause, dismissing this Chapter 13 case and for such
other and further relief as may seem just and proper.
                   Responsive papers shall be filed with the Bankruptcy Court and served upon the
Chapter 13 Trustee, Marianne DeRosa, Esq., no later than seven (7) business days prior to the
hearing date set forth above. Any responsive papers shall be in conformity with the Federal Rules
of Civil Procedure and indicate the entity submitting the response, the nature of the response and
the basis of the response.



Date: Jericho, New York
      March 7, 2019

                                                               /s/ Marianne DeRosa
                                                               MARIANNE DeROSA, TRUSTEE
                                                               125 JERICHO TPKE, SUITE 105
                                                               JERICHO, NEW YORK 11753
                                                               (516) 622-1340
       Case 1-17-43007-ess                Doc 50       Filed 03/07/19    Entered 03/07/19 09:47:12




                                                                        tmd3574/db
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK                                            MARCH 25, 2019
                                                                        9:00 AM
----------------------------------------------------------X
IN RE:                                                                  Chapter 13 117-43007-ESS

ANGELA COVE,                                                            APPLICATION

                                       Debtor.
-----------------------------------------------------------X

TO THE HONORABLE ELIZABETH S. STONG, U.S. BANKRUPTCY JUDGE:

       Marianne DeRosa, Chapter 13 Trustee in the above-captioned estate, respectfully
represents the following:

       1. The Debtor filed a petition under the provisions of 11 U.S.C. Chapter 13 on June 8,
2017, and, thereafter, Marianne DeRosa was duly appointed and qualified as Trustee.

       2. The Debtor’s proposed Chapter 13 Plan, (hereinafter “The Plan”), dated and filed with
the Court on July 18, 2017, and reflected in the Court’s docket as number 19 provides for a
monthly Plan payment of $1,956.00 per month for a period of 60 months. Additionally, The Plan
provides for full repayment to all filed secured, priority and general unsecured proofs of claim.

         3. As of the date of this motion, the Debtor has failed to:

                   a. provide the Trustee with a copy of an affidavit by the Debtor stating the Debtor
                      has paid all amounts that are required to be paid under a domestic support
                      obligation or that the Debtor has no domestic support obligations as required
                      by E.D.N.Y. LBR 2003-1(b)(ii)(A) and (B);

                   b. provide the Trustee with a copy of affidavit from the Debtor stating whether the
                      Debtor has filed all applicable federal, state and local tax returns under the
                      Bankruptcy Code Section 1308 as required by E.D.N.Y. LBR 2003-1(b)(iii);

                   c. file the original affidavits with the Court as required under subdivisions (b)(ii)
                      and (iii) as required by E.D.N.Y. LBR 2003-1(c).

                   d. comply with 11 U.S.C. §1325(a)(6) in that the Debtor has not submitted timely
                      Chapter 13 plan payments to the Trustee, and is $11,729.34 in arrears through
                      and including March 2019.

        4. The Plan cannot be confirmed and as a result a delay has occurred that is
prejudicial to the rights of creditors. The case must be dismissed under 11 U.S.C. § 1307(c)(1)
and (c)(5).

      5.    Each of the foregoing constitutes cause to dismiss this Chapter 13 case within
meaning of 11 U.S.C. §1307(c).
     Case 1-17-43007-ess        Doc 50    Filed 03/07/19     Entered 03/07/19 09:47:12




        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an
Order denying confirmation and dismissing this Chapter 13 case and such other and further relief
as may seem just and proper.

Dated: Jericho, New York
       March 7, 2019
                                                    /s/ Marianne DeRosa
                                                     Marianne DeRosa, Trustee
       Case 1-17-43007-ess                Doc 50       Filed 03/07/19    Entered 03/07/19 09:47:12




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Chapter 13 Case No: 117-43007-ESS
IN RE:

ANGELA COVE,
                                                                        CERTIFICATE OF SERVICE
                                                                             BY MAIL
                                       Debtor.
-----------------------------------------------------------X


               This is to certify that I, DANI M. BOYER, have this day served a true, accurate and
correct copy of the within Notice of Motion and Application by depositing a true copy thereof
enclosed in a post-paid wrapper, in an official depository under the exclusive care and custody of
the U.S. Postal Service within New York State, addressed to each of the following persons at the
last known address set forth after each name:

ANGELA COVE
118-82 METROPOLITAN AVENUE, UNTI #1-F
KEW GARDENS, NY 11415

EDWARD J. WATER, ESQ.
89-SUTPHIN BLVD, STE 301-304
JAMAICA, NY 11435

US BANK TRUST, NA
C/O ROBERTSON, ANSCHUTZ & SCHNEID, P. L.
6409 CONGRESS AVENUE, SUITE 100
BOCA RATON, FL 33487



This March 7, 2019

/s/DANI M. BOYER
DANI M. BOYER, Paralegal
Office of the Standing Chapter 13 Trustee
Marianne DeRosa, Esq.
125 Jericho Tpke, Suite 105
Jericho, New York 11753
(516) 622-1340
     Case 1-17-43007-ess   Doc 50   Filed 03/07/19   Entered 03/07/19 09:47:12




Index No: 117-43007-ESS
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
IN RE:

ANGELA COVE,


Debtor.

                       NOTICE OF MOTION, APPLICATION
                                    and
                          CERTIFICATE OF SERVICE




                           MARIANNE DeROSA, TRUSTEE
                           125 JERICHO TPKE, SUITE 105
                            JERICHO, NEW YORK 11753
                                  (516) 622-1340
